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Fob 3, 2095
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA,
Vv.
ILYA LICHTENSTEIN and HEATHER CRIMINAL NO. 23-cr-239 (CKK)

MORGAN, et ai.,

Defendants.

MOTION FOR IMMEDIATE RESTITUTION IN LIGHT OF MULTIPLE
AFFECTED VICTIMS

Pursuant to 18 U.S.C. § 3663A, 18 U.S.C. § 3771, 18 U.S.C. § 3663, ECF 178, ECF 203, ECF
204, and 28 CFR § 9.8, Movant Francisco Cavazos proceeding Pro Se, respectfully moves this
Honorable Court to order immediate restitution in the amount of $1,574,370 or the equivalent
value of 14.994 BTC as of today’s market value, based on the current value of Bitcoin, to the
Movant as compensation for the financial losses sustained due to the criminal conduct outlined

below. The scheduled restitution hearing is ECF 185 and set for February 21, 2025. ‘

This request is made pending the graciousness of the Court and in the spirit of ensuring timely
and equitable restitution for the financial harm suffered. Movant humbly requests the Court's
consideration in advancing this matter at its earliest convenience to facilitate the timely

restoration of justice.

INTRODUCTION

The Movant, Francisco Cavazos, proceeding pro se, respectfully moves this Honorable Court
to order immediate restitution in the amount of $1,574,370 or the equivalent value of 14.994

BTC as of today’s market value, based on the current value of Bitcoin, to the Movant as
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compensation for the financial losses sustained due to the criminal conduct outlined below. The

scheduled restitution hearing is ECF 185 and set for February 21, 2025.

FACTUAL BACKGROUND

Criminal Activity and Loss of BTC:

On or about August 1, 2016, criminal activity resulted in the unlawful transfer and
seizure of 14.994 BTC that rightfully belonged to the Movant. This illicit activity directly
stemmed from the actions taken by the Defendants, whose conduct led to substantial

financial losses for the Movant.

Documentation and Forfeiture:

The Movant's 14.994 BTC has been well-documented, with its original ownership and
the unlawful transfer identified in ECF 178 under the Second Preliminary Order of
Forfeiture. The BTC was subject to forfeiture and is currently in the possession of the

U.S. Government.

Evidence Supporting the Claims:

Supporting evidence for the Movant's claims has been provided in ECF 190, with
Exhibits 1-5. These exhibits contain key documentation regarding the BTC’s original
ownership, the unlawful transfer, and corroborating witness testimonies. These pieces of
evidence substantiate the Movant's assertions and establish the direct link between the

Defendants’ actions and the financial harm sustained.

Fluctuation in Bitcoin Value and Request for Restitution:
The value of Bitcoin has fluctuated significantly since the unlawful transfer. The Movant
respectfully requests that the restitution be calculated based on the current market

value of Bitcoin to ensure equitable compensation for the losses incurred.

LEGAL FRAMEWORK
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Mandatory Victims Restitution Act (18 U.S.C. § 3663A): The MVRA mandates
restitution for identifiable victims. The delay in enforcing restitution runs counter to the
legislative purpose of prioritizing victim recovery.

Crime Victims’ Rights Act (18 U.S.C. § 3771): The CVRA guarantees victims the right
to timely restitution and to be treated with fairness and respect.

Witness and Victim Protection Act (18 U.S.C. § 3663): The VWPA further supports
restitution for victims, emphasizing the need for financial recovery.

Local Rule CFR 9.8: CFR 9.8 provides procedural guidelines for the enforcement of
restitution orders, ensuring prompt action to satisfy victims’ rights.

ECF 178: This order identifies 14.994 BTC as forfeitable property, and the Court must
act swiftly to return it to the rightful owner.

ECF 203 and 204: These motions highlight the presence of multiple victims in the
case, establishing the need for pro rata restitution, which aligns with the Movant's

request for restitution based on the current market value of the assets.

ARGUMENT

Restitution is a Mandatory Obligation Under Federal Law: The MVRA mandates
restitution for identifiable victims. The delay in enforcing restitution runs counter to the
legislative purpose of prioritizing victim recovery.

The Movant’s Rights Under the CVRA Have Been Impeded: The Movant's right to
timely restitution has been delayed, which violates the CVRA’s requirement for victims to
receive compensation promptly.

Pro Rata Valuation and Equitable Restitution: Based on ECF 203 and 204, the Court
should adopt a pro rata method to calculate restitution. This ensures equitable
distribution and takes into account the fluctuating value of Bitcoin.

Immediate Restitution is Necessary to Mitigate Financial Harm: The Movant has
suffered considerable financial hardship due to the delay in restitution. Immediate
payment will alleviate ongoing harm and fulfill the statutory obligations of restitution.
Judicial Economy Favors Immediate Restitution: Prompt enforcement of restitution
will streamline the process, reduce unnecessary litigation, and avoid administrative

burdens on the Court.

PRAYER FOR RELIEF
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WHEREFORE, the Movant respectfully requests that this Honorable Court:

1. Order immediate restitution of 14.994 BTC, valued at the current market rate, to the
Movant as compensation for the losses sustained.

2. Ensure that the restitution order is enforced promptly, consistent with the MVRA, CVRA,
VWPA, and relevant local guidelines under CFR 9.8.

3. Provide any additional relief deemed just and appropriate under the circumstance

Defendants. This Court has acknowledged the Movant's status as a victim and the pending
claims through ECF 190

THE HONORABLE COLLEEN KOLLAR-KOTELLY
UNITED STATES DISTRICT JUDGE

CERTIFICATE OF SERVICE

|, Francisco Cavazos, hereby certify that on this 15th day of January, 2025, a true and correct
copy of the foregoing document was served upon the following individuals by the methods

indicated below:

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METHOD OF SERVICE

The foregoing document was served via email and, where applicable, by hand delivery to the
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parties listed above.

Executed on this 18th day of January, 2025.
